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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO

           MICHAEL DOMANN
           MARY JO DOMANN                                       CIVIL CASE NO. 1:22-cv-002243

                           vs.
                                                                JUDGE        Bridgett M. Brennan
           FRONTIER AIRLINES, INC., et al


                                             PRAECIPE FOR ISSUANCE

                   ORIGINAL SUMMONS

                   ALIAS SUMMONS

                   THIRD PARTY SUMMONS

                    CERTIFICATE OF JUDGMENT LIEN UPON LANDS AND TENEMENTS §2329.02 ORC

                   CERTIFICATE OF JUDGMENT FOR REGISTRATION IN ANOTHER DISTRICT

                   WRIT OF EXECUTION

                   OTHER (Please Specify) Defendant Frontier Airlines, Inc.'s Notice of Removal




           Document to be issued should be uploaded as an attachment to the Praecipe.

           If service of summons will be done by certified or ordinary mail, see Local Rule 4.2.




                    Date: March 25, 2024                         By:    Michael P. Cassidy (0001087)


                                                                 Attorney for Plaintiffs



revised 02/2009
